             Case 2:16-cr-00055-DWA Document 61 Filed 12/17/18 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       )
                                               )       Criminal No.16-55
                         v.                    )
                                               )       (18 U.S.C. 371)
SIMON T. TUSHA                                 )


                   GOVERNMENT’S RESPONSE TO DEFENDANT’S
                  MOTION TO CONTINUE SENTENCING PROCEEDING

        AND NOW COMES the United States of America by its attorneys, Scott W. Brady, United

States Attorney for the Western District of Pennsylvania and James R. Wilson, Assistant United

States Attorney in and for said district, and files the following Response to Defendant’s Motion to

Continue Sentencing and in support thereof sets forth the following:

        1.       Sentencing in the above matter is currently set for January 3, 2019;

        2.       Defendant Tusha, at docket number 59 on December 12, 2018, filed a Motion to

Continue the Sentencing to a date in March 2019;

        3.       The reason proposed for the requested sentencing was that the defendant had yet to

complete his proposed cooperation with the authorities in the Netherlands regarding a matter that

was being prosecuted there;

        4.       Unbeknownst to counsel for Mr. Tusha the matter being handled by authorities in

the Netherlands has come to completion and there is no further need for any action by Mr. Tusha,

nor is there any impediment to proceeding forward with the sentencing scheduled for January 3,

2019;

        5.       Inasmuch as the matter has been pending sentencing for nearly two years (the first

request for a postponement was filed at Doc. No. 39 on December 30, 2016) the United States
         Case 2:16-cr-00055-DWA Document 61 Filed 12/17/18 Page 2 of 2



respectfully requests that Defendant’s Motion to Continue be denied and that the matter proceed

to sentencing on January 3, 2019.



                                                   Respectfully Submitted,

                                                   SCOTT W. BRADY
                                                   United States Attorney



                                                    s/ James R. Wilson
                                                   JAMES R. WILSON
                                                   Assistant U.S. Attorney
                                                   PA ID No. 27648
